Case 1:19-cv-01471-ABJ Document 1-16 Filed 05/20/19 Page 1 of 2




                        EXHIBIT 11
                 Case 1:19-cv-01471-ABJ Document 1-16 Filed 05/20/19 Page 2 of 2




From: Charrow, Robert (HHS/OGC) <Robert.Charrow@hhs.gov>
Sent: Wednesday, March 27, 2019 9:19 AM
To: Casey, Mark <Mark.Casey@mnk.com>; alice.valder.curran@hoganlevells.com
Cc: Charrow, Robert (HHS/OGC) <Robert.Charrow@hhs.gov>
Subject: [EXTERNAL] Mallinckrodt Meeting

CAUTION: This email originated from Robert.Charrow@hhs.gov which is outside of the Mallinckrodt system. Do not click on any
 links or attachments unless you know the source and are very confident that the links/attachments are safe. If you have any
                              doubts, please contact SuspiciousEmail@mnk.com for assistance.


Dear Mark and Alice,

Sorry to be the bearer of less than stellar news. I’ve reviewed the underlying documents and have concluded
that the April 13, 2016 letter from CMS to Mallinckrodt constituted CMS’ final decision on the relevant issue.
Therefore, given that there is a final CMS decision on this issue, any meeting with me would not and could not
be productive. Accordingly, I am canceling the meeting. Bob

Robert P. Charrow
General Counsel
Department of Health and Human Services
200 Independence Avenue, S.W.
Washington, D.C. 20201
(202) 690-7741
Email: Robert.Charrow@hhs.gov




                                                             1
